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                         UNITED STATES COURT OF APPEALS
                              FOR THE THIRD CIRCUIT



                                       No. 18-1838



       LEAGUE OF WOMEN VOTERS OF PENNSYLVANIA; CARMEN FEBO
      SA.l\f MIGUEL; JA.\1ES SOLOMON; JOHN GREINER; JOHN CAPOWSKI;
  GRETCHEN BRA.l\fDT; THOMAS RENTSCHLER; MARY ELIZABETH LAWN; LISA
            ISAACS; DON LANCASTER; JORDI COMAS; ROBERT SMITH;
 WILLIAM MARX; RICHARD MANTELL; PRISCILLA MCNULTY; THOMAS ULRICH;
          ROBERT MCKINSTRY; MARK LICHTY; LORRAINE PETROSKY

                                            v.

   THE COMMO:t-.'WEALTH OF PENNSYLVANIA; THE PENNSYLVANIA GENERAL
      ASSEMBLY; GOVERNOR OF PENNSYLVANIA, in his capacity as governor of
Pennsylvania; MICHAEL J. STACK, Ill, in his capacity as Lieutenant Governor of Pennsylvania
and President of the Pennsylvania Senate; MICHAEL C. TURZAI, in his capacity as Speaker of
                                                                                              I
  the Pennsylvania House of Representatives; JOSEPH B. SCARNATl, III, in his capacity as
Pennsylvania Senate President Pro Tempore; SECRETARY OF THE COMMONWEALTH OF
PENNSYLVANIA; COMMISSIONER OF THE BUREAU OF COMMISSIONS, ELECTIONS,
       AND LEGISLATION OF THE PE~~SYLVA.11.;IA DEPARTMENT OF STATE

                                             Joseph B. Scarnati, III,
                                                           Appellant



                      On Appeal from the United States District Court
                          for the Eastern District of Pennsylvania
                            D.C. Civil Action No. 2-17-cv-05137
                      (District Judge: Honorable Michael M. Baylson)


                                Argued: November 7, 2018

                Before: A.i\1BRO, SCIRICA, and RENDELL, Circuit Judges.




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                                     JUDGl\ffiNT



      This cause came to be considered on the record from the United States District

Court for the Eastern District of Pennsylvania and was argued on November 7, 2018. On

consideration whereof, it is now hereby

      ORDERED and ADJUDGED by this Court that the order of the District Court

entered April 13, 2018, be, and the same is hereby AFFIRMED in part, REVERSED in

part, and REMANDED. Each party shall bear its own costs. All of the above in

accordance with the opinion of this Court.


                                          ATTEST:

                                          s/ Patricia S. Dodszuweit
                                          Clerk

 DATED:




                    Teste:  P~,q/:),A;~·              't"
                    Clerk, U.S. Court of Appeals for the Third Circuit




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